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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CHRISTOPHER A. JANCZAK                         : MISCELLANEAOUS ACTION
                                                :
                      v.                        : NO. 24-38
                                                :
 FEDERAL NATIONAL MORTGAGE                      :
 ASSOCIATION d/b/a FANNIE MAE                   :

                                            ORDER
       AND NOW, this 5th day of September 2024, upon considering plaintiff’s motion to

withdraw the reference (DI 1), and no response from defendant, it is ORDERED plaintiff shall

file a joint status report no later than September 12, 2024.




                                                     MURPHY, J.
